        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 1 of 17




     AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT


       I, James Picardi, being duly sworn, state the following:

                                           Introduction

       1.      I am a “federal law enforcement officer” within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

laws and duly authorized by the Attorney General to request a search warrant. I am also an

“investigative or law enforcement officer” within the meaning of 18 U.S.C. § 2510(7); that is, an

officer of the United States empowered by law to conduct investigations of, and to make arrests

for, offenses enumerated in 18 U.S.C. § 2516.

       2.      I have been employed as a Task Force Officer of the United States Drug

Enforcement Administration (“DEA”) since 2002. I am currently assigned to the Boston Office

of the New England Field Division. I have served as a police officer in Revere, Massachusetts,

since 1991. I was promoted to the rank of Sergeant in 1996 and served as a narcotics detective

for four years. In September 2002, I was sworn in as Task Force Officer and began working with

the DEA on that date through the present date.

       3.      As a Task Force Officer of the DEA, I am authorized to investigate violations of

the laws of the United States, including violations of the federal drugs laws in Title 21 of the

United States Code. I am an investigative or law enforcement officer of the United States, within

the meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to

conduct investigations of and to make arrests for offenses enumerated in Section 2516 of Title

18, United States Code. I am also a “federal law enforcement officer” within the meaning of

Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in




                                                 1
        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 2 of 17




enforcing the criminal laws and duly authorized by the Attorney General to request search

warrants.

       4.      I have participated in all aspects of drug investigations, including physical

surveillance, surveillance of undercover transactions, the introduction of undercover agents and

cooperating sources, the execution of search warrants, the effecting of arrests, and debriefings of

defendants, informants and witnesses who had personal knowledge regarding major narcotics

trafficking organizations. I am familiar with the benefits and limitations of these techniques. I

have also reviewed recorded conversations and telephone, financial, and drug records. Through

my training and experience, I have become familiar with the manner in which illegal drugs are

imported, transported, stored, and distributed, and the methods of payment for such drugs. I have

also become familiar with the manner in which narcotics organizations use various forms of

violence and intimidation in furtherance of their narcotics trafficking activity, to protect their

operations, members, narcotics, and narcotics proceeds.

       5.      By virtue of my employment as a police officer and assignment as a DEA Task

Force Officer, I have performed and continue to perform various duties, including, but not

limited to: working in the capacity of a surveillance agent detecting and recording movement of

persons known to be or suspected of being involved in illegal drug trafficking; working as a case

agent directing the investigation of various illegal drug traffickers and their organizations; and

directing investigations involving complex conspiracies.

       6.      Through experience and training, I have become familiar with the types and

amounts of profits made by drug traffickers and the methods, language, and terms used to

disguise illegal activity. I know that persons engaged in drug trafficking require expedient forms

of communication to maintain an adequate and consistent supply of drugs from sources, and to



                                                  2
         Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 3 of 17




effectively market those drugs to customers. I understand illegal drug trafficking often involves

the local, interstate, and international movement of illegal drugs to distributors and co-

conspirators at multiple levels, and the movement of the proceeds of drug trafficking among

multiple participants including suppliers, customers, distributors and money launderers.

        7.      I am familiar with narcotics traffickers’ methods of operation, including methods

used by them to distribute, store, and transport narcotics and to collect, expend, account for,

transport, and launder drug proceeds. I am familiar with the manner in which drug traffickers

use telephones, coded or slang-filled telephone conversations, text messages, communication

apps, and other means to facilitate their illegal activities.

        8.      Based on my training and experience, I believe that illegal drugs and drug

proceeds are often transported in motor vehicles and that drug traffickers often coordinate such

transportation through the use of cellular telephones. Through my training and experience, I have

acquired specialized knowledge in the activities of drug traffickers, including their use of

residences, businesses, and drug “stash houses,” to store and process drugs for distribution and to

direct their drug distribution activities. That training and experience has led me to believe that

drug traffickers store contraband, as well as other evidence of their crimes such as drug proceeds,

cellular telephones, cuff sheets or owe sheets, at their residences, businesses, and stash houses.

                                        Purposes of Affidavit

        9.      Since March 2021, the DEA has been investigating John DOE a.k.a. an individual

with the initials L.M. with Date of Birth xx/xx/1975 and SSN: xx/xx/5479 for violations of 21

U.S.C. § 841 (possess with intent to distribute controlled substances) and 21 U.S.C. § 846

(conspiracy to possess with intent to distribute controlled substances) (the “Target Subject” and

the “Target Offense”).



                                                   3
        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 4 of 17




       10.     I submit this affidavit in support of an application for a search warrant to search

76 West Newton Street, Apartment 3, Boston, Massachusetts 02118 (the “Target Location”).

The Target Location is more specifically described in Attachment A, which I incorporate by

reference.

       11.     Based on the facts set forth in this affidavit, there is probable cause to believe that

DOE has committed the Target Offense and that evidence of the commission of the Target

Offense will be located at the Target Location

       12.     I am a Task Force Officer and have conducted this investigation working closely

with other DEA Special Agents and law enforcement personnel. Accordingly, I am familiar with

the facts concerning this investigation. The facts in this affidavit come from my personal

observations, my training and experience, and information obtained from other agents and

witnesses. This affidavit is intended to show that there is probable cause for the criminal

complaint and search warrants and does not set forth all of my knowledge about this matter.

                                         Probable Cause

       13.     On September 15, 2021, the Honorable M. Page Kelley, Chief United States

Magistrate Judge, approved a criminal complaint and search warrant for DOE (21-6585-MPK and

21-6586-MPK). I incorporate by reference my affidavit in support of that criminal complaint and

search warrant.

       14.     On September 16, 2021, at approximately 12:46 p.m., investigators arrested DOE

pursuant to the criminal complaint. The arrest occurred outside of a restaurant in Lawrence,

Massachusetts. Investigators searched DOE at the time of his arrest. Pursuant to that search,

investigators found approximately two packages of suspected narcotics.            One package was

approximately 100 grams and the other package was approximately 25 grams. Investigators also



                                                  4
        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 5 of 17




found a prescription bottle of pills inside of a black satchel bag found within DOE’s vehicle. The

label of that prescription bottle listed DOE’s alias, L.M., and an address of the Target Location.

        15.    At the time of his arrest, DOE was provided with his Miranda warnings in Spanish.

Investigators then asked DOE where he lived. DOE provided the Target Location as his address

and identified a key in his possession that he said belongs to the Target Location.

        16.    Over the course of this investigation, this affiant has observed DOE exit 76 West

Newton Street on several occasions. Specifically, DOE was observed leaving 76 West Newton

Street on July 9, 2021 and August 19, 2021 and travel to conduct narcotics transactions with the

CS. Additionally, I am aware that the Honda CRV is registered to the Target Location in the name

of an individual with the initials T.Z. The Massachusetts driver’s license of T.Z. lists a mailing

and residential address at the Target Location.

        17.    I have researched records from the Boston Police Department and I am aware that

on February 9, 2016 the Boston Police Department executed a search warrant at the Target

Location pursuant to the arrest of DOE on state drug trafficking charges. During the execution of

the warrant, officers seized a photo copy of a Massachusetts Driver’s license in the name of the

L.M. but depicting DOE. Agents also seized documents from the Internal Revenue Service in the

name of L.M. and a photograph of DOE.

        18.    On Friday March 14, 2014, DOE reported to the Boston Police Department he

received a letter from the IRS telling him that he was the victim of identity theft and needed to file

police report. DOE filed the police report under the name L.M., documented under BPD incident

number I140156130-00, and he listed the Target Location as his home address.




                                                  5
        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 6 of 17




       Drug Trafficker’s Use of Residences, Cell Phones, and Computers Generally

       19.     Based on my training and experience, and the collective experience of other

investigators participating in this investigation, I know that traffickers of controlled substances

frequently maintain, at their residences, quantities of illicit drugs to maintain their ongoing drug

business. I also know that traffickers of controlled substances usually keep, in addition to drugs,

paraphernalia for the packaging, diluting, cutting, weighing, processing, and distributing

controlled substances, including scales, plastic bags, cutting agents, and utensils at their

residences or stash locations. Based upon my training and experience, as well as the training and

experience of other law enforcement agents I have worked with, I am aware that it is generally a

common practice for drug traffickers to store drug-related paraphernalia in their residences for

longer periods of time than they keep drugs in their residences.

       20.     Based upon my experience and the experience of other law enforcement officers

who have participated in the execution of numerous search warrants at the residences of drug-

traffickers, it is generally a common practice for drug traffickers to maintain in their residences

records relating to their drug trafficking activities. Because drug traffickers in many instances

will “front” (that is, sell on consignment) controlled substances to their clients, or alternatively,

will be “fronted” controlled substances from their suppliers, record-keeping is necessary to keep

track of amounts paid and owed, and such records are often kept close at hand so that current

balances can be verified and recorded. Often drug traffickers keep “pay and owe” records to

show balances due for drugs sold in the past (“pay”) and for payments expected (“owe”) as to the

trafficker’s suppliers and the trafficker’s dealers. Additionally, drug traffickers often maintain

telephone and address listings of clients and suppliers and keep them immediately available in

order to efficiently conduct their drug trafficking business. I am also aware that drug traffickers



                                                   6
           Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 7 of 17




often maintain such documents related to their drug trafficking activities at their residences for

an extended period of time, regardless of whether they are physically in possession of drugs on

the premises.

       21.      Even when drug dealers store their drugs outside their residences, I know that

they often will keep records relating to these offsite storage locations at their primary residences.

Such documents include rental or storage property agreements and receipts.

       22.      Based upon my training and experience, as well as the training and experience of

other law enforcement agents I have worked with, I am also aware that it is generally a common

practice for drug traffickers to conceal at their residences either the proceeds from drug sales or

monies to be used to purchase controlled substances. Drug traffickers typically make use of wire

transfers, cashier’s checks, and money orders to pay for controlled substances, and evidence of

such financial transactions and records relating to income and expenditures of money and wealth

in connection with drug trafficking are often kept in their residences. Moreover, the cash

proceeds of drug trafficking often contain traces of the narcotics sold or bought by the drug

dealers.

       23.      Moreover, drug traffickers commonly possess and use multiple cellular

telephones simultaneously to conduct their drug trafficking activities, and many of these cellular

telephones are kept at their residences. It is common for these cellular telephones to be retained,

although not necessarily used, for months or longer by drug traffickers in their vehicles,

residences, and businesses. Drug traffickers often do not discard their cellular telephones

immediately after they stop actively using them. Therefore, while it is common for drug

traffickers to stop using cellular telephones frequently, it is far less common for drug traffickers

to discard their cellular telephones after they switch to new cellular telephones. As a result, I am



                                                  7
        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 8 of 17




aware that collections of cell phones have been found during drug trafficking search warrants

that have included cell phones that were no longer being used by a particular drug trafficker but

had nevertheless been retained.

       24.     When drug traffickers amass proceeds from the sale of drugs, they often attempt

to launder/legitimize these profits, or otherwise conceal them from discovery by law

enforcement. In an effort to accomplish these goals, drug traffickers often place assets, such as

vehicles and residences, in the names of other persons to conceal their true ownership and the

manner in which they were acquired. Records reflecting the implementation of such deceptive

practices, such as deeds, titles, and service records, are likely to be found inside the residence of

the drug trafficker.

       25.     Finally, as noted above, evidence of drug crimes can be found in the cell phones

and smart phones referenced in the preceding paragraphs. Such evidence can include internet

searches for drug-related paraphernalia, addresses, or telephone numbers, as well as

incriminating communications via emails, text messages or instant messages. From my training,

experience, and information provided to me by other agents, I am aware that individuals

commonly store records of the type described in Attachment B on their cellular telephones.

       26.     It should be noted that, with the advance of technology, the distinction between

computers and cellular telephones is quickly becoming less clear. Actions such as internet

searching or emailing, in addition to calling and text messaging, can now be performed from

many cell phones. In addition, those involved in drug trafficking crimes commonly

communicate using multiple cellular telephones. Contemporaneous possession of multiple

cellular telephones is, therefore, evidence of drug trafficking. Moreover, the particular numbers




                                                  8
        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 9 of 17




of and the particular numbers dialed by particular cellular telephones can be evidence of drug

trafficking.

        27.     As with most electronic/digital technology items, communications made from an

electronic device, such as a computer or a cell phone, are often saved or stored on the device.

Storing this information can be intentional, for example, by saving an e-mail as a file on a

computer or saving the location of one’s favorite websites in “bookmarked” files. Digital

information can also be retained unintentionally. Traces of the path of an electronic

communication or of an internet search may be automatically stored in many places on a

computer or a cell phone. In addition to electronic communications, a user’s Internet activities

generally leave traces in the web cache and Internet history files. A forensic examiner often can

recover evidence that shows when and in what manner a user of an electronic device, such as a

computer or a cell phone, used such a device.

        28.     Electronic files or remnants of such files can be recovered months or even years

after they have been downloaded, deleted, or viewed via the Internet. Electronic files

downloaded to a hard drive can be stored for years at little or no cost. Even when such files have

been deleted, they often can be recovered months or years later using readily available forensic

tools. When a person “deletes” a file on an electronic storage device such as a computer, the

data contained in the file often does not actually disappear; rather, that data often remains on the

device until it is overwritten by new data. Therefore, deleted files, or remnants of deleted files,

may reside in free space or slack space -- that is, in space on a device that is not allocated to an

active file or that is unused after a file has been allocated to a set block of storage space -- for

long periods of time before they are overwritten. In addition, a computer’s operating system

may also keep a record of deleted data in a “swap” or “recovery” file. Similarly, files that have



                                                   9
        Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 10 of 17




been viewed via the Internet are automatically downloaded into a temporary Internet directory or

“cache.” The browser typically maintains a fixed amount of hard drive space devoted to these

files, and the files are only overwritten as they are replaced with more recently viewed Internet

pages. Thus, the ability to retrieve residue of an electronic file from an electronic storage device

depends less on when the file was sent, downloaded, or viewed than on a particular user’s

operating system, storage capacity, and habits.

       29.      I have participated in the execution of numerous search warrants at the residences

of drug traffickers similar to the target of this investigation. In a substantial number of

residential searches executed in connection with the drug investigations in which I have been

involved, the following types of drug-related evidence typically have been recovered in both

conventional and electronic formats:

             a. controlled substances, such as fentanyl;

             b. paraphernalia for packaging, processing, diluting, weighing, and distributing

                controlled substances, such as scales, funnels, sifters, grinders, glass panes and

                mirrors, razor blades, plastic bags, microwave ovens, heat-sealing devices, and

                diluents such as mannitol, mannite, and inositol;

             c. books, records, receipts, notes, ledgers, letters, and other papers relating to the

                distribution of controlled substances, travel for the purpose of acquiring and/or

                distributing controlled substances, and to monetary transactions involving the

                proceeds from the sale of controlled substances;

             d. personal books, papers, and other electronic devices reflecting names, addresses,

                telephone numbers, and other contact or identification data relating to the

                distribution of controlled substances, money laundering, and the criminal use of



                                                   10
Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 11 of 17




     communication facilities;

  e. cash, currency, and records relating to the generation of income from the sale of

     controlled substances and the expenditure of such income, including money

     orders, wire transfers, cashier's checks and receipts, bank statements, passbooks,

     checkbooks, and check registers, as well as consumer items such as electronic

     equipment, vehicles, jewelry, and precious metals such as gold and silver, and

     precious gems such as diamonds - it should be noted that possession of the

     valuable items referenced in this paragraph, particularly by individuals with no

     substantial legitimate source of income, is evidence of drug trafficking as opposed

     to drug use;

  f. documents and other records indicating travel in interstate and foreign commerce,

     such as maps, GPS coordinates, navigation coordinates, travel itineraries, plane

     tickets, boarding passes, motel and hotel receipts, passports and visas, credit card

     receipts, and telephone bills and related communications;

  g. cellular telephones, smart phones, electronic tablet devices, and other electronic

     media utilized for communication, transportation, and data acquisition and

     retention purposes related to acquiring and distributing illegal drugs and proceeds,

     including incoming and outgoing call and text message logs, contact lists, photo

     and video galleries, sent and received text messages, online searches and sites

     viewed via the internet, online or electronic communications sent and received

     (including email, chat, and instant messages), sent and received audio files,

     navigation, mapping, and GPS files, telephone settings (including contact lists)

     text messages, and related identifying information such as telephone identification



                                      11
       Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 12 of 17




                numbers, call forwarding information, messages drafted but not sent, and voice

                messages;

             h. firearms and other dangerous weapons; and,

             i. identification evidence and/or indicia, such as cell phones with particular

                numbers, mail, deeds, leases, rental agreements, photographs, bills, and

                identification documents, that tend to identify the person(s) in residence,

                occupancy, control, or ownership of subject premises and/or subject

                communication devices.

       30.      Based on all of the evidence I have obtained in the course of this investigation, and

for the reasons set forth above, I believe DOE, like many drug traffickers, uses his residence and/or

stash locations in furtherance of their ongoing drug-trafficking activities, and that, among other

things, documentary and other evidence regarding those activities, including, but not limited to,

the items set forth in Attachments B, will be found in the Target Location. See e.g., United States

v. Feliz, 182 F.3d 82, 87-88 (1st Cir. 1999).1




1
  In Feliz, the First Circuit made clear that, in the drug trafficking context, evidence of drug
transactions can be expected to be found in a drug trafficker’s residence for months after
evidence of the last transaction. 182 F.3d at 87 (“[C]ourts have upheld determinations of
probable cause in trafficking cases involving [three months long] or even longer periods”) (citing
United States v. Greany, 929 F.2d 523, 525 (9th Cir. 1991) (two-year-old information relating to
marijuana operation not stale)). As the First Circuit has explained, “[b]y it’s very nature, drug
trafficking, if unchecked, is apt to persist over relatively long periods of time.” United States v.
Nocella, 849 F.2d 33, 40 (1st Cir. 1988).
                                                 12
       Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 13 of 17




                                           CONCLUSION

       31.     Wherefore, there is probable cause to believe DOE has committed the Target

Offense, and that evidence, fruits, and instrumentalities of the Target Offense, described in

Attachment B will be located at the Target Location, described in Attachment A.




                                                  Respectfully submitted,

                                                        /s/ James Picardi
                                                  James Picardi, Task Force Officer
                                                  Drug Enforcement Administration




Sworn to be telephone in accordance with Fed R. Crim. P. 4.1 this 16th day of September, 2021.



       _________________________________________
       Hon. M. Page Kelley
       Chief United States Magistrate Judge




                                                13
       Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 14 of 17

                                       Attachment A
                         76 W. Newton Street, Apartment 3, Boston MA
                                       ATTACHMENT A
                            Description of the Premises to be Searched
76 West Newton Street, Apartment 3, Boston, Massachusetts 02118 hereinafter the Target

Location”) and all telephones located therein. The “Target Location” is described as follows: 76

West Newton Street, Apartment 3, Boston, Massachusetts 02118 is a three story brick apartment

structure containing 5 units. Access to the “Target Location” is through a white colored front

door with the numbers 76 written in orange paint above the door. The “Target Location” is

located on the second floor after utilizing two sets of stairs. The door to the “Target Location” is

orange in color and located on the left wall next to the door is a plaque reading 76WN UNIT 3.

The “Target Location” (including the front entrance, front door, stairwell, unit mailboxes, and

door to Apartment 3) are pictured below.
Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 15 of 17

                           Attachment A
             76 W. Newton Street, Apartment 3, Boston MA
       Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 16 of 17




                                      ATTACHMENT B
                              Description of the Items to be Seized
        From January 1, 2020 through the present, evidence, fruits, and instrumentalities of
violations of Title 21, United States Code, Sections 841(a)(1) (possession with intent to
distribute and distribution of a controlled substance) and 846 (conspiracy to distribute and
possess with intent to distribute a controlled substance) to be seized:
   1. Controlled substances, including but not limited to fentanyl.

   2. Books, records, receipts, notes, ledgers, and other papers relating to the purchase, storage,
      or distribution of controlled substances, including records of sales, records of purchases,
      log books, drug ledgers, personal telephone/address books containing the names of
      purchasers and suppliers of controlled substances, electronic organizers, telephone bills,
      bank and financial records, and storage records, such as storage locker receipts and safety
      deposit box rental records and keys.

   3. Cash, currency, and currency counting machines, and records relating to controlled
      substances income and financial transactions relating to obtaining, transferring,
      laundering, concealing, or expending money or other items of value made or derived
      from trafficking in controlled substances. Such items include, but are not limited to,
      jewelry; precious metals such as gold and silver; precious gems such as diamonds; titles;
      deeds; monetary notes; registrations; purchase or sales invoices; and bank records.

   4. Documents or tangible evidence reflecting dominion, ownership, and/or control over any
      bank accounts, safe deposit boxes, stocks, bonds, mutual funds, and any other financial
      and/or monetary assets, instruments or interests, and over any tangible assets such as
      motor vehicles, real property, and commercial storage facilities, including any keys to
      motor vehicles, real property, or commercial storage facilities.

   5. Photographs, videos, or other records concerning controlled substances, proceeds from
      the sales of controlled substances, or identities of coconspirators.

   6. Cellular telephones belonging to or used by JOHN DOE a/k/a Luis Alberto MEDINA-
      FELICIANO, and all names, words, telephone numbers, email addresses, time/date
      information, messages or other electronic data relating to or referencing drug trafficking
      and/or referencing individuals engaged in drug trafficking, located in the memory of any
      mobile telephone, including but not limited to:

           a. Names and contact information that have been programmed into the device(s)
              (including but not limited to contacts lists) of individuals who may be engaged in
              drug trafficking;
       Case 1:21-mj-06586-MPK Document 2-1 Filed 09/16/21 Page 17 of 17




           b. Logs of calls (including last numbers dialed, last calls received, time of calls,
              missed calls, and duration of calls) both to and from the device(s);

           c. Text messages both sent to and received from the device(s) (including any in draft
              form) relating to or referencing drug trafficking and/or referencing individuals
              engaged in drug trafficking;

           d. Incoming and outgoing voice mail messages both to and from the device(s)
              relating to or referencing drug trafficking or individuals engaged in drug
              trafficking;

           e. GPS data;

           f. Browser messages and/or internet communications (e.g., e-mail, text messages)
              both to and from the device(s) (including any in draft form) relating to or
              referencing drug trafficking or individuals engaged in drug trafficking;

           g. Documents, photographs, or videos in any format, including but not limited to
              Microsoft Word or Adobe PDF files, relating to or referencing drug trafficking or
              individuals engaged in drug trafficking;

           h. All data within the device(s) evidencing ownership, possession, custody, control,
              or use of the device(s); and

           i. Service provider handset unlock password(s) and any other passwords used to
              access the electronic data described above.


During the execution of the search of John DOE a.k.a. Luis Alberto MEDINA-FELICIANO
described in Attachment A, law enforcement personnel are authorized to press the fingers
(including thumbs) of DOE to the sensor of any cellular telephone and/or to hold the cellular
telephone in front of his face
